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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                  SHERMAN DIVISION

 UNITED STATES OF AMERICA                           §
                                                    §
 v.                                                 §              CRIMINAL NO. 4:02-CR-00088
                                                    §
 ANDRE RETAY TONEY (8)                              §


                 MEMORANDUM ADOPTING REPORT AND
         RECOMMENDATION OF THE UNITED STATES MAGISTRATE JUDGE

         Came on for consideration the above-referenced criminal action, this court having heretofore

 referred the request for revocation of Defendant’s supervised release to the United States Magistrate

 Judge for proper consideration. The court has received the report of the United States Magistrate

 Judge pursuant to its order. Defendant having waived allocution before this court as well as his right

 to object to the report of the Magistrate Judge, the court is of the opinion that the findings and

 conclusions of the Magistrate Judge are correct.

         It is, therefore, ORDERED that the Magistrate Judge’s Report is ADOPTED as the opinion

 of the court. It is further ORDERED that Defendant’s supervised release is hereby REVOKED.

 It is further ORDERED that Defendant be committed to the custody of the Bureau of Prisons to be

 imprisoned for a term of thirteen (13) months with no supervised release to follow. The Court

 further recommends that Defendant’s term of imprisonment be carried out in El Reno FCI, if

 eligible.

         IT IS SO ORDERED.

              .   SIGNED this the 30th day of January, 2014.




                                                             _______________________________
                                                             RICHARD A. SCHELL
                                                             UNITED STATES DISTRICT JUDGE
